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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


 DAVID WAYNE HISER,

        Plaintiff,

 v.                                                              Case No. 2:17-CV-36

 SCOTT ALDRIDGE,                                                 HON. GORDON J. QUIST

       Defendant.
 _____________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed Magistrate Judge Greeley’s June 12, 2018, Report and

Recommendation recommending that the Court grant Defendant’s motion for summary judgment

and dismiss the remaining claim. The Magistrate Judge found that the evidence fails to support a

claim that Defendant acted with deliberate indifference to Plaintiff’s medical needs. The Report

and Recommendation was duly served on the parties on June 12, 2018. No objections have been

filed pursuant to 28 U.S.C. § 636(b).

       THEREFORE, IT IS HEREBY ORDERED that the Magistrate Judge’s Report and

Recommendation (ECF No. 31), is APPROVED AND ADOPTED as the Opinion of this Court.

       IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment (ECF No.

24), is GRANTED and Plaintiff’s remaining claim is DISMISSED WITH PREJUDICE.

       A separate judgment will enter.



Dated: July 12, 2018                                       /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
